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 UNITED STATES DISTRICT COURT                                           Case No. 21-cv-
 MIDDLE DISTRICT OF PENNSYLVANIA
 ------------------------------------------------------------------ x
 JIAN ZHONG XUE, and
 RAYMOND CHOW,                                                          29 U.S.C. § 216(b)
 on their own behalf and on behalf of others similarly                  COLLECTIVE ACTION &
 situated                                                               FED. R. CIV. P. 23 CLASS
                                     Plaintiffs,                        ACTION
                                     v.
 JOHN'S SHANGHAI LLC
     d/b/a John's Shanghai; and                                         COMPLAINT
 YUN XUE
     a/k/a Danny Xue
     a/k/a David Xue                                                    DEMAND FOR JURY TRIAL
                                     Defendants.
 ------------------------------------------------------------------ x

        Plaintiffs JIAN ZHONG XUE, and RAYMOND CHOW (hereinafter referred to as

Plaintiffs), on behalf of themselves and others similarly situated, by and through their attorney,

Troy Law, PLLC, hereby bring this complaint against Defendants JOHN'S SHANGHAI LLC

d/b/a John's Shanghai; and YUN XUE a/k/a Danny Xue a/k/a David Xue allege as follows:


                                              INTRODUCTION

        1.       This action is brought by the Plaintiffs JIAN ZHONG XUE, and RAYMOND

CHOW, on behalf of themselves as well as other employees similarly situated, against the

Defendants for alleged violations of the Fair Labor Standards Act, (FLSA) 29 U.S.C. § 201 et

seq. and of the Pennsylvania Minimum Wage Act of 1968, 43 P.S. §§ 333.101, et seq.




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260.1 et seq.,

         and practices..

        2.       Upon information and belief, Defendants have willfully and intentionally

committed widespread violations of the FLSA and PAMWA and WPCL by engaging in

pattern and practice of failing to pay its employees, including Plaintiff, minimum wage for

each hour worked and overtime compensation for all hours worked over forty (40) each

workweek.

        3.       Plaintiffs allege pursuant to the FLSA, that they are entitled to recover from

the Defendants: (1) unpaid wages and unpaid overtime wages, (2) lodging costs charged (3)

liquidated damages, (4) prejudgment and post-judgement interest; and or (5

    cost.

        4.       Plaintiff further alleges pursuant to the Pennsylvania Minimum Wage Act of

1968, 43 P.S. §§ 333.101, et seq.                      he is entitled to recover from the

Defendants: (1) unpaid wage compensation, (2) lodging costs charged, (3) unpaid overtime

compensation, (4) pre-judgment and post-judgment interest, and (5

        5.       Plaintiff further alleges pursuant to the Pennsylvania Wage Payment and

                                                  seq. that he was not notified of the following:

(1) time and place of payment; (2) rate of pay; and (3) amount of any fringe benefits or wage

supplements to be paid to the employee, a third party, or a fund for the benefit of the

employee; and that he is entitled to recover from the Defendants: (1) unpaid minimum wage

compensation, (2) unpaid overtime wages compensation, (3) liquidated damages in an amount

equal to 25% of his lost wages and benefits under the Wage Payment and Collection Law, (4)

prejudgment and post-




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                                   JURISDICTION AND VENUE

        6.      This Court has original federal question jurisdiction over this controversy

under 29 U.S.C. § 216(b) and 28 U.S.C. § 1331, and has supplemental jurisdiction over the

the Pennsylvania Minimum Wage Act claims pursuant to 28 U.S.C. § 1367(a).

        7.      Venue is proper in the Middle District of Pennsylvania pursuant to 28 U.S.C.

§§ 1391(b) and (c), because Defendants conduct business in this District, and the acts and

omissions giving rise to the claims herein alleged took place in the Middle District of

Pennsylvania.

                                             PLAINTIFFS

        8.      From on or about January 01, 2017 to Present, Plaintiff JIAN ZHONG XUE

was employed by Defendants to work as a Chef for Defendants at 312 West Beaver Ave.

State College, PA 16801.

        9.      From on or about March 04, 2018 to Present, Plaintiff RAYMOND CHOW

was employed by Defendants to work as a Waiter, Cook for Defendants at 312 West Beaver

Ave. State College, PA 16801.

                                            DEFENDANTS

        Corporate Defendants

        10.     Defendant JOHN'S SHANGHAI LLC d/b/a John's Shanghai is a domestic

business corporation organized under the laws of the State of New York with a principal

address at 312 West Beaver Ave. State College, PA 16801.




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        11.     JOHN'S SHANGHAI LLC d/b/a John's Shanghai is a business engaged in

interstate commerce that has gross sales in excess of five hundred thousand dollars ($500,000)

per year.

        12.     JOHN'S SHANGHAI LLC d/b/a John's Shanghai purchased and handled

goods moved in interstate commerce.

        Owner/Operator Defendants

        13.     YUN XUE a/k/a Danny Xue a/k/a David Xue known as Owner and the Boss to

the plaintiff and the owner of JOHN'S SHANGHAI LLC d/b/a John's Shanghai, (1) had the

power to hire and fire employees, (2) supervised and controlled employee work schedules or

conditions of employment, (3) determined the rate and method of payment, and (4)

maintained employee records at JOHN'S SHANGHAI LLC d/b/a John's Shanghai

        14.     YUN XUE a/k/a Danny Xue a/k/a David Xue actually hired the plaintiff

        15.     YUN XUE a/k/a Danny Xue a/k/a David Xue actually paid the plaintiff

        16.     YUN XUE a/k/a Danny Xue a/k/a David Xue acted intentionally and

maliciously and is an employer pursuant to FLSA, 29 U.S.C. § 203(d) and regulations

promulgated thereunder, 29 C.F.R. § 791.2, NYLL § 2 and the regulations thereunder, and is

jointly and severally liable with JOHN'S SHANGHAI LLC d/b/a John's Shanghai; JOHN'S

SHANGHAI USA INC d/b/a John's Shanghai.

                                     Wage and Hour Claims
        17.     Defendants committed the following alleged acts knowingly, intentionally and

willfully against the Plaintiff, the FLSA Collective Plaintiffs, and the Class.




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         18.    At all relevant times, Defendants knowingly and willfully failed to pay

Plaintiff and similarly situated employees at least the federal and state minimum wage for

each hour worked.

         19.    At all relevant times, Defendants knowingly and willfully failed to pay

Plaintiff and similarly situated employees their lawful overtime compensation of one and one-

half times (1.5x) their regular rate of pay for all hours worked over forty (40) in a given

workweek.

         20.    While employed by Defendants, Plaintiff was not exempt under federal and

state laws requiring employers to pay                  overtime.

         21.    Defendants failed to keep full and accurate records of Plaintiff's hours and

wages.

         22.    Upon information and belief, Defendants failed to keep full and accurate

records in order to mitigate liability for their wage violations. Defendants never furnished

Plaintiff any notice of their use of tip credit.

         23.    At all relevant times, Defendants knowingly and willfully failed to provide

Plaintiffs JIAN ZHONG XUE and RAYMOND CHOW and similarly situated employees

with Time of Hire Notice reflecting (1) time and place of payment; (2) rate of pay; and (3)

amount of any fringe benefits or wage supplements to be paid to the employee.

         24.    Defendants knew that the nonpayment of overtime pay would financially

injure Plaintiff and similarly situated employees and violate state and federal laws.




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         Plaintiff JIAN ZHONG XUE

         25.     From on or about January 01, 2017 to May 01, 2020, Plaintiff JIAN ZHONG

XUE was employed by Defendants to work as a Chef at 312 West Beaver Ave. State College,

PA 16801.

         26.




         27.     From on or about January 01, 2017 to May 01, 2020, Plaintiff JIAN ZHONG



        days per week for ninety-eight (98) hours per week.

         28.     At all relevant times, Plaintiff JIAN ZHONG XUE did not have a fixed time

for lunch or for dinner.

         29.     In fact, Plaintiff JIAN ZHONG XUE had 10 minutes to eat and even then, he



        for the customer.

         30.     From on or about January 01, 2017 to May 01, 2020, Plaintiff JIAN ZHONG

XUE was promised a flat compensation at a rate of four thousand five hundred dollars

($4500.00) per month

         31.     In actuality from on or about January 01, 2017 to May 01, 2020, Plaintiff JIAN

ZHONG XUE was paid a flat compensation at a rate of one thousand eight hundred dollars

($1800.00) per month.




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        32.     Due to the difference in flat compensation Plaintiff JIAN ZHONG XUE

received, Plaintiff JIAN ZHONG XUE is owed $470,112.00 in lost wages for the duration of

time that he worked for Defendants.

        33.     At all relevant times, Plaintiff JIAN ZHONG XUE was not paid overtime pay

for overtime work.

        34.     At all relevant times, Plaintiff JIAN ZHONG XUE was never informed of his

hourly pay rate or any tip deductions toward the minimum wage.

        35.     Further, at all relevant times, Plaintiff JIAN ZHONG XUE had to make dim

sum.

        36.     Throughout his employment, Plaintiff JIAN ZHONG XUE was not given a



                                                                  of pay, any deductions




        37.     Throughout his employment, Plaintiff JIAN ZHONG XUE was not

compensated at least at one-and-one-half his promised hourly wage for all hours worked

above forty (40) in each workweek.

        38.     Throughout Plaintiffs employment, Defendants retained around Thee Hundred

and Fifty ($350) dollars per month from JIAN ZHONG

              provided.




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        Plaintiff RAYMOND CHOW

        39.     From on or about March 04, 2018 to February 01, 2020, Plaintiff RAYMOND

CHOW was employed by Defendants to work as a Waiter at 312 West Beaver Ave. State

College, PA 16801.

        40.     From on or about February 02, 2020 to March 01, 2020, Plaintiff RAYMOND

CHOW was employed by Defendants to work as a cook at 312 West Beaver Ave. State

College, PA 16801.

        41.

                                                                        CHOW has been

unemployed.

        42.     From on or about March 04, 2018 to Present, Plaintiff RA

        work schedule ran from 11:00 to 23:00 for eleven (11) hours per day for seven days

per week for eighty-four (84) hours per week. for a total of eighty-four (84) hours each week.

        43.     At all relevant times, Plaintiff RAYMOND CHOW did not have a fixed time

for lunch or for dinner.

        44.     In fact, Plaintiff RAYMOND CHOW had 10 minutes to eat and even then he

                                                        break stopped and he had to attend to

the customer.

        45.     From on or about Mach 04, 2018 to May 01, 2020, Plaintiff RAYMOND

CHOW was promised a flat compensation rate of three thousand five hundred dollars

($3500.00) per month.

        46.     At all relevant times, Plaintiff RAYMOND CHOW was not paid overtime pay

for overtime work.




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         47.     However, Plaintiff RAYMOND CHOW was not even paid for his promised

rate for 28 months of time that he worked for Defendants, that amounted to $98,000 in lost

wages.

         48.     At all relevant times, Plaintiff RAYMOND CHOW was never informed of his

hourly pay rate or any tip deductions toward the minimum wage.

         49.     Throughout his employment, Plaintiff RAYMOND CHOW was not given a

statement with his weekly payment reflecting



                                                           as part of the minimum wage, and the

                                                     in Chinese

         50.     Throughout his employment, Plaintiff RAYMOND CHOW was not

compensated at least at one-and-one-half his promised hourly wage for all hours worked

above forty (40) in each workweek.

         51.     Throughout Plaintiffs employment, Defendants retained around three hundred



               provided.

                              COLLECTIVE ACTION ALLEGATIONS

         52.     Plaintiffs bring this action individually and as class representative individually

and on behalf of all other and former non-exempt employees who have been or were

employed by the Defendants for up to the last three (3) years, through entry of judgment in



         rate for all hours worked and at one and one half times their promised work for all




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                                  CLASS ACTION ALLEGATIONS

          53.    Plaintiff brings his Pennsylvania Minimum Wage Act of 1968



   non-exempt personnel employed by Defendants on or after the date that is two years before



          54.    All said persons, including Plaintiffs

          55.    The Class members are readily ascertainable. The number and identity of the

Class members are determinable from the records of Defendants. The hours assigned and

worked, the positions held, and the rate of pay for each Class Member is also determinable



        names and addresses are readily available from Defendants. Notice can be provided by

means permissible under said Fed. R. Civ. P. 23.

          Numerosity

          56.    The proposed Class is so numerous that joinder of all members is

impracticable, and the disposition of their claims as a class will benefit the parties and the

Court. Although the precise number of such persons is unknown, and the facts on which the

calculation of the number is presently within the sole control of the Defendants, upon

information and belief, there are more than forty (40) members of the class.

          Commonality

          57.    There are questions of law and fact common to the Class which predominate

over any questions affecting only individual class members, including:

          a.     Whether Defendant employed Plaintiff and the Class within the meaning of the

PAMWA;


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        b.      Whether Plaintiff and Class members are promised and not paid at their

promised hourly wage under the PAMWA;

        c.      Whether Plaintiff and Class members are entitled to and paid overtime at their

promised hourly wage under the PAMWA;

        d.      Whether Defendants maintained a policy, pattern and/or practice of failing to

provide requisite statutory meal periods;

        e.      Whether Defendants provided a Time of Hire Notice detailing rates of pay and

payday at the start of Plaintiffs



        f.      Whether Defendants provided paystubs detailing the rates of pay and credits

taken towards the minimum wage to Plaintiffs and the Rule 23 class on each payday; and

        g.      At what common rate, or rates subject to common method of calculation was

and is Defendants required to pay the Class members for their work.

        Typicality

        58.     Plaintiffs' claims are typical of those claims which could be alleged by any

member of the Class, and the relief sought is typical of the relief that would be sought by each

member of the Class in separate actions. All the Class members were subject to the same

corporate practices of Defendants, as alleged herein, of failing to pay minimum wage or

                                                      policies and practices affected all Class

members similarly, and Defendants benefitted from the same type of unfair and/or wrongful

acts as to each Class member. Plaintiffs and other Class members sustained similar losses,

injuries and damages arising from the same unlawful policies, practices and procedures.

        Adequacy



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        59.    Plaintiffs are able to fairly and adequately protect the interests of the Class and

have no interests antagonistic to the Class. Plaintiffs are represented by attorneys who are

experienced and competent in representing Plaintiffs in both class action and wage-and-hour

employment litigation cases.

        Superiority

        60.    A class action is superior to other available methods for the fair and efficient

adjudication of the controversy, particularly in the context of wage-and-hour litigation where

individual Class members lack the financial resources to vigorously prosecute a lawsuit

against corporate defendants. Class action treatment will permit a large number of similarly

situated persons to prosecute their common claims in a single forum simultaneously,

efficiently and without the unnecessary duplication of efforts and expenses that numerous

individual actions engender. Because the losses, injuries and damages suffered by each of the

individual Class members are small in the sense pertinent to a class action analysis, the

expenses and burden of individual litigation would make it extremely difficult or impossible

for the individual Class members to redress the wrongs done to them. Further, important

public interests will be served by addressing the matter as a class action. The adjudication of

individual litigation claims would result in a great expenditure of Court and public resources;

however, treating the claims as a class action would result in a significant saving of these

costs. The prosecution of separate actions by individual members of the Class would create a

risk of inconsistent and/or varying adjudications with respect to the individual members of the

Class, establishing incompatible standards of conduct for Defendants and resulting in the

                                       and the disposition of their interests through actions to

which they were not parties. The issues in this action can be decided by means of common,



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class-wide proof. In addition, if appropriate, the Court can, and is empowered to, fashion

methods to efficiently manage this action as a class action.

        61.    Upon information and belief, Defendants and other employers throughout the

state violate the PAMWA. Current employees are often afraid to assert their rights out of fear

of direct or indirect retaliation. Former employees are fearful of bringing claims because

doing so can harm their employment, future employment, and future efforts to secure

employment. Class actions provide class members who are not named in the complaint a

degree of anonymity which allows for the vindication of their rights while eliminating or

reducing these risks.

                                    STATEMENT OF CLAIMS



        [Violations of the Fair Labor Standards Act           to Pay Unpaid Wages
                Brought on behalf of the Plaintiffs and the FLSA Collective]

        62.    Plaintiffs re-allege and incorporate by reference all preceding paragraphs as

though fully set forth herein.

        63.    At all relevant times, Defendants had a policy and practice of refusing to pay

Plaintiffs in full, and the similarly situated collective action members, for some or all of the

hours they worked.

        64.    The FLSA provides that any employer who violates the provisions of 29 U.S.C.

§ 206 shall be liable to the employees affected in the amount of their unpaid wage, and in an

additional equal amount as liquidated damages.

        65.    Defendants knowingly, willfully, and maliciously disregarded the provisions of

the FLSA as evidenced by failing to compensate Plaintiffs and Collective Class Members at the

statutory minimum wage when they knew or should have known such was due and that failing



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to do so would financially injure Plaintiff and Collective Action members.


                       [Violation of Pennsylvania Minimum Wage Act
                       Brought on behalf of Plaintiff and Rule 23 Class]


        66.    Plaintiff re-alleges and incorporates by reference all preceding paragraphs as

though fully set forth herein.

        67.    At all relevant times, Plaintiff was employed by Defendants within the meaning

of PAMWA§§3(d).

        68.

               and Plaintiff and the Class members were covered employees entitled to



        69.    At all relevant times, Defendants had a policy and practice of refusing to pay the

statutory minimum wage to Plaintiff and the class action members, for some or all of the hours

they worked.

        70.    Defendants knowingly and willfully violated Plaintiff, and similarly situated

                 rights by failing to pay them minimum wages in the lawful amount for hours

worked.

        71.    PAMWA § 13 expressly allows private plaintiffs to bring civil actions to enforce



        72.    PAMWA § 13 expressly provides that an agreement between the employer and

employee to work for less than the required minimum wage is not a defense to an action seeking

to recover unpaid minimum wages.

        73.

   the PAMWA, Plaintiff and the members of the Rule 23 Class are entitled to recover their


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unpaid wages, reasonabl

           and post-judgment interest.


           [Violations of the Fair Labor Standards Act           to Pay Overtime
                 Brought on behalf of the Plaintiff and the FLSA Collective]

         74.   Plaintiffs re-allege and incorporate by reference all preceding paragraphs as

though fully set forth herein.

         75.   The FLSA provides that no employer engaged in commerce shall employ a

covered employee for a work week longer than forty (40) hours unless such employee receives

compensation for employment in excess of forty (40) hours at a rate not less than one and one-

half times the regular rate at which he is employed, or one and one-half times the minimum

wage, whichever is greater. 29 U.S.C. § 207(a).

         76.   The FLSA provides that any employer who violates the provisions of 29 U.S.C.

§ 207 shall be liable to the employees affected in the amount of their unpaid overtime

compensation, and in an additional equal amount as liquidated damages. 29 USC § 216(b).

         77.                             Plaintiffs and the FLSA Collective their overtime pay

violated the FLSA.

         78.   At all relevant times, Defendants had, and continue to have, a policy of practice

of refusing to pay overtime compensation at the statutory rate of time and a half to Plaintiffs

and Collective Action Members for all hours worked in excess of forty (40) hours per workweek,

which violated and continues to violate the FLSA, 29 U.S.C. §§ 201, et seq., including 29 U.S.C.

§§ 207(a)(1) and 215(a).

         79.   The FLSA and supporting regulations required employers to notify employees

of employment law requires employers to notify employment law requirements. 29 C.F.R. §

516.4.


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          80.     Defendants willfully and maliciously failed to notify Plaintiffs and FLSA

Collective of the requirements of the employment laws in order to facilitate their exploitation



          81.     Defendants knowingly, willfully, and maliciously disregarded the provisions of

the FLSA as evidenced by their failure to compensate Plaintiffs and Collective Class Members

the statutory overtime rate of time and one half for all hours worked in excess of forty (40) per

week when they knew or should have known such was due and that failing to do so would

financially injure Plaintiffs and Collective Action members.


                 [Violation of New York Labor Law             to Pay Overtime
                       Brought on behalf of Plaintiff and Rule 23 Class]

          82.     Plaintiff re-alleges and incorporates by reference all preceding paragraphs as

though fully set forth herein.

          83.     Under the PAMWA Article 43, §§333.105(a)-(c), et seq, and the supporting

Pennsylvania Department of Labor Regulations & industry regulations, defendants are

required to pay Plaintiff and Rule 23 Class members one and one half (1.5) times the regular

rate of pay for all hours they worked in excess of forty (40) hours in a workweek.

          84.     Defendants have failed to pay Plaintiff and Rule 23 Class members the

overtime to which they are entitled under the PAMWA.

          85.     Defendants have willfully violated the PAMWA by knowingly and

intentionally failing to pay Plaintiff and the Rule 23 Class Members overtime wages.

          86.                                                                        the Rule

23 Class Members

        and costs of the action, liquidated damages and pre-judgment and post-judgment interest.

                                            not in good faith.


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                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs, on behalf of themselves, and on the behalf of the FLSA

Collective Plaintiffs and Rule 23 Class, respectfully request that this Court enter a judgment

providing the following relief:

        a)     Authorizing Plaintiffs at the earliest possible time to give notice of this

collective action, or that the Court issue such notice, to all persons who are presently, or have

up through the extent allowable under the statute of limitations and including the date of

issuance of court-supervised notice, been employed by Defendants as non-exempt employees.

Such notice shall inform them that the civil notice has been filed, of the nature of the action,

of his right to join this lawsuit if they believe they were denied premium overtime wages;

        b)     Certification of this case as a collective action pursuant to FLSA;

        c)     Issuance of notice pursuant to 29 U.S.C. § 216(b) to all similarly situated

members of the FLSA opt-in class, apprising them of the pendency of this action, and permitting

them to assert timely FLSA claims and state claims in this action by filing individual Consent

to Sue forms pursuant to 29 U.S.C. § 216(b), and appointing Plaintiff and their counsel to

represent the Collective Action Members;

        d)     A declaratory judgment that the practices complained of herein are unlawful

under FLSA and PAMWA;

        e)     An injunction against Corporate Defendants, its officers, agents, successors,

employees, representatives and any and all persons acting in concert with them as provided by

law, from engaging in each of unlawful practices and policies set forth herein;

        f)     An award of unpaid minimum wage and overtime wages due under FLSA and

PAMWA due Plaintiff and the Collective Action members plus compensatory and liquidated


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damages in the amount of twenty five percent (25%) under PA Wage Payment and Collection

Law.

        g)

             willful, and malicious failure to pay wages at least the hourly minimum wage,

overtime compensation pursuant to 29 U.S.C. §216;

        h)       An award of costs and expenses of this action together with reasonable

                                                                   S.B. 73;

        i)       An award of lost wages and liquidated damages equal to lost wages as a result

                                      compensatory damages, 6% simple prejudgment interest

provided by WPCL, post-judgment interest, and attorney fees and costs;

        j)       The cost and disbursements of this action;

        k)       An award of prejudgment and post-judgment fees;

        l)       Such other and further legal and equitable relief as this Court deems necessary,

just, and proper.

                                DEMAND FOR TRIAL BY JURY
      Pursuant to Rule 38(b) and 38(c) of the Federal Rules of Civil Procedures, Plaintiffs
demand a trial by jury on all questions of facts.
Flushing, New York
Dated: July 8, 2021
                                        TROY LAW, PLLC
                                        Attorneys for the Plaintiffs, proposed FLSA
                                        Collective and potential Rule 23 Class
                                        /s/ C. D. Thomas
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